    Case 5:21-cr-00116-H-BQ Document 67 Filed 12/02/21               Page 1 of 1 PageID 152



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 LUBBOCKDIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                                NO. 5:21-CR-116-01-H

ISAIAH DANTE MORENO,
     Defendant.


                  ORDER ACCEPTING RIPORT AND RECOMMENDATION
                     OF TIIE UMTED STATES MAGISTRATE JUDGE
                            CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

0   636(bX1), the undersigrred District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated Decemb   ,, 'L   , zozt.

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                                             JAMES         LEY          DRIX
                                             I.]NITED               DISTRICT JUDGE
                                                        TATES
